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 Lori G. Cohen
 Tel 678.553.2385
 Fax 678.553.2386
 cohenl@gtlaw.com

 February 24, 2022

 VIA ECF

  The Honorable Robert B. Kugler
  United States District Court Judge
  District of New Jersey
  Mitchell H. Cohen Building & U.S. Courthouse
  4th & Cooper Streets, Room 1050
  Camden, NJ 08101

            Re:        In re Valsartan, Losartan, and Irbesartan Products Liability
                       Litigation, Case No. 1:19-md-02875-RBK

 Dear Judge Kugler:

       We write on behalf of Defendants in connection with the Rule 702 hearing the
 Court has scheduled in March regarding the parties’ respective general causation
 experts.

        Consistent with the Court’s requested format for the upcoming Rule 702
 hearings, enclosed please find the declarations of Defendants’ general causation
 experts Dr. Michael Bottorff, PharmD, FCCP, FNLA, CLS, who specializes in
 pharmacokinetics and pharmacology, and Dr. George Johnson, Ph.D., who
 specializes in genetic toxicology, which are being filed today in further opposition
 to Plaintiffs’ 702 Motions. Presentation of these declarations does not in any way
 indicate any concerns on the part of Defendants regarding the admissibility of their
 reports—indeed, there is no credible dispute that both Dr. Bottorff and Dr. Johnson
 are well credentialed, their opinions are the product of the same methodology and
 rigor applied in their chosen fields, and their testimony bears on issues directly
 relevant to the issue of general causation. Rather, Defendants believe the Court
 would particularly benefit from hearing from these witnesses, given the specialized
 and technical nature of their opinions, and their declarations further provide the
 Court with useful context in evaluating the flawed theories put forth by Plaintiffs’
 experts.

 GREENBERG TRAURIG, LLP ◼ ATTORNEYS AT LAW ◼ WWW.GTLAW.COM
 Terminus 200 Building, 3333 Piedmont Road NE, Suite 2500, Atlanta, Georgia 30305 ◼ Tel: 678.553.2100 ◼ Fax 678.553.2212
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       Defendants are not submitting declarations on behalf of the following general
 causation experts, as the existing record is straightforward and plainly establishes
 the admissibility of their opinions.

     • Dr. Janice K. Britt, Ph.D., who specializes in toxicology

     • Dr. John M. Flack, M.D., MPH, FAHA, FASH, MACP, who specializes in
       internal medicine and hypertension

     • Dr. Jon Fryzek, Ph.D., MPH, who specializes in epidemiology

     • Dr. Lee-Jen Wei, Ph.D., who specializes in biostatistics

        Defendants also are not submitting declarations on behalf of two general
 causation experts, Dr. Lewis Chodosh, M.D., who specializes in cancer biology, and
 Dr. Herman J. Gibb, Ph.D., MPH, who specializes in epidemiology, because
 Plaintiffs have not challenged the admissibility of their general causation opinions
 under Rule 702.

        Finally, Defendants wish to reiterate their request for a full hearing and
 opportunity to develop the record with respect to the pending Rule 702 motions.
 Defendants harbor concern that the procedure contemplated by the Court—wherein
 Plaintiffs exercise sole discretion on which of their experts, if any, will appear at the
 contemplated hearing and, moreover, the parties are not permitted to present live
 direct examinations of their own witnesses, or potentially argument, may hamper the
 Court’s ability to holistically evaluate the significant issue of general causation.
 Respectfully, Defendants reserve the right to seek to supplement the record through
 further argument and examinations following completion of the presently
 contemplated Rule 702 hearings.

       We very much appreciate the Court’s consideration of these issues. Please let
 us know if you need anything further prior to the scheduled hearings.


                                                                     Respectfully submitted,

                                                                     /s/ Lori G. Cohen

                                                                     Lori G. Cohen



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 cc:     Special Master Thomas I. Vanaskie
         All counsel of record (Via ECF)




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